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DoNALD G, HOLMES, JR., ~- ::i=e f jj t ly
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Plaintiff,
v. NO_ 01-2373

SHELBY COUNTY GOVERNMENT and
SERGEANT D. TAYLOR, et al.,

Defendants.

 

ORDER TO SHOW CAUSE

 

On October 25, 2004, Defendants Dora Taylor, Trevis Mathews, Odell Underwood, and
Shelby County filed a motion to enforce a voluntary settlement agreement between the Plaintiff,
Donald G. Holmes, Jr., and the Defendants. The Court granted the Defendants’ motion to enforce
the settlement on April 26, 2005 and ordered the Plaintiff to sign the necessary documents to
effectuate the agreement within eleven days. However, according to the Court’s docket, the Plainti fl`
has-not submitted any documentation indicating that he has complied with the April 26 order.

Accordingly, Plaintiff is hereby ORDERED to SHOW CAUSE within eleven (l l) days of"
the entry of this order why the lawsuit should not be dismissed for failure to comply with the Court ’s
order. As the Court warned in its April 26 order, failure to respond to the Court’s directive or
comply with its order will result in dismissal of the Plaintiff’s claims.

IT ls so 0RDERED misqu fMay, 2005.

 

J. NIEL BREEN
NI D STATES DISTRICT JUDGE

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This document entered on the docket sheet l co:pllance
with Rul e 58 and/or 79(a) FHCP on ,5" §§ v §

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Notice of Distribution

This notice confirms a copy of the document docketed as number 194 in
case 2:01-CV-02873 was distributed by faX, mail, or direct printing on
May 24, 2005 to the parties listed.

ESSEE

 

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Honorable .l. Breen
US DISTRICT COURT

